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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


LAUREN ADELE OLIVER,

                         Plaintiff,
vs.                                                      CIVIL NO. 1:20-cv-00237-KK-SCY

MEOW WOLF, INC., ET AL.,

                         Defendant.



          MOTION TO EXTEND RULE 16(b) SCHEDULING ORDER DEADLINES

         COMES NOW Plaintiff Lauren Oliver (“Oliver” or “Plaintiff”), and hereby moves this

Court to extend the Rule 16(b) deadlines set forth in the Court’s Scheduling Order (D.E. 53) by

sixty (60) days pursuant to Fed. R. Civ. P. 16(b)(4), which authorizes the Court to modify its

Scheduling Order “upon a showing of good cause.” As grounds therefor, Oliver STATES:

      1. This Court has jurisdiction over the parties.

      2. On October 14, 2020, the Court issued a Scheduling Order in this case (D.E. 53), setting

         deadlines as follows:

         a.      Discovery due by April 30, 2021;

         b.      Non-expert Discovery Motions due by June 01, 2021;

         c.      Expert Discovery Motions due by June 14, 2021;

         d.      Pretrial Motions due by June 21, 2021; and

         e.      Proposed Pretrial Order due by September 15, 2021.

      3. Oliver proposes that the Rule 16(b) deadlines be extended by sixty (60) days as follows:

              a. Discovery due by June 29, 2021;

              b. Non-expert Discovery Motions due by August 2, 2021;
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       c. Expert Discovery Motions due by August 13, 2021;

       d. Pretrial Motions due by August 20, 2021; and

       e. Proposed Pretrial Order due by November 15, 2021.

4. There is good cause for granting the requested extensions for the following reasons:

       a. The initial complaint was filed in this matter on March 16, 2020, as lockdowns

           related to the Covid-19 pandemic began. (D.E. 1).

       b. Defendants signed waivers of service of summons on March 30, 2020. (D.E. 9,

           10).

       c. Defendants requested, and Oliver stipulated, to extend Defendants’ deadline to

           file a responsive pleading to July 1, 2020, which was approved by the Court.

           (D.E. 14).

       d. Citing the severe impact of the Covid-19 outbreak, Defendants requested, and

           Oliver stipulated that Defendants’ deadline to file a responsive pleading could be

           extended to August 1, 2020, which was approved by the Court. (D.E. 17, 18).

       e. Defendants answered and filed a partial motion to dismiss on August 3, 2020.

           (D.E. 30, 32)

       f. The parties stipulated to limited discovery pending determination of Defendants’

           partial motion to dismiss, which provided that written responses to discovery

           requests need not be served until 14 days after determination of Defendants’

           partial motion to dismiss or November 20, whichever came first. The stipulation

           also precluded the deposition of named parties and their principals, and limited

           the number of third-party depositions prior to November 20, 2020 to two (2).

           (D.E. 48, 53, 54).



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  g. Written responses to Oliver’s initial discovery requests to Defendant Meow Wolf,

     Inc. were served on November 20, 2020.

  h. The Court ruled on Defendants’ partial motion to dismiss on November 25, 2020,

     denying Defendants’ motion as to all claims except Plaintiff’s claim for

     conversion.

  i. The parties met and conferred at length regarding Meow Wolf’s discovery

     responses, which led to Plaintiff filing a motion to compel on February 22, 2021,

     which motion remains pending. (D.E. 72)

  j. On March 30, 2021, Plaintiff filed a notice of completion of briefing on her

     motion to compel. (D.E. 91)

  k. On April 12, 2021, Defendant Meow Wolf filed a motion for leave to file surreply

     on Plaintiff’s motion to compel. (D.E. 96). Plaintiff currently plans to oppose

     Meow Wolf’s motion for leave to file surreply.

  l. As outlined in Plaintiff’s motion to compel, Plaintiff believes documents and

     information currently held by Defendants, which has yet to be produced, are

     critical to the completion of analysis by her experts, and her ability to properly

     prepare her case for trial.

  m. With Meow Wolf’s motion for leave to file surreply, it is unlikely that a ruling on

     Plaintiff’s pending motion to compel will be possible prior to the current

     discovery deadline.

  n. Meanwhile, Plaintiff requested employment status and dates for deposition for

     percipient witnesses Sarah Bradley, Dave McPherson, Benjamin Wright, and

     Golda Blaise on February 12, 2021. Plaintiff sought to depose these witnesses

     prior to deposing Meow Wolf and its principals. After repeatedly being told by
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     Defendants’ counsel that they would contact the witnesses (three of whom are

     current employees, and one of whom is a former employee) to coordinate their

     depositions, Defendants’ counsel did not provide deposition dates for Mr.

     McPherson (March 24) and Mr. Wright and Ms. Bradley (April 9) until March 3,

     2021.

  o. Defendants’ counsel has continued to represent that they have been in contact

     with witness Golda Blaise, but were unable to schedule her deposition. Counsel

     for Oliver reached out to Ms. Blaise directly on April 15, 2021, and she indicated

     she wished scheduling to be processed through counsel for Defendants. Counsel

     for Oliver informed counsel for Defendants of this the same day. As of writing,

     Counsel for Defendants have not provided any dates for Ms. Blaise’s deposition,

     and appropriately scheduling Ms. Blaise’s deposition prior to the current date for

     completion of discovery is not reasonably possible. Ms. Blaise is a key witness as

     she was a participating artist in the House of Eternal Return venture (“HoER”),

     was a participant in the Meow Wolf collective prior to HoER, and obtained an

     equity interest in Meow Wolf prior to completion of HoER.

  p. Also on March 3, 2021, Plaintiff requested deposition dates for Meow Wolf

     principals Emily Montoya, Corvas Brinkerhoff, Megan Brinkerhoff, Sean Di

     Ianni, and Vince Kadlubek, as well as Meow Wolf’s corporate representative.

     Though counsel for Plaintiff provided multiple dates in March for these

     depositions, the depositions of Mr. Di Ianni, Mr. Kadlubek, Ms. Brinkerhoff and

     Mr. Brinkerhoff did not proceed until April 14, April 16, and April 19 (1/2-day

     for Mr. and Ms. Brinkerhoff) respectively per the scheduling dictates of

     Defendants’ counsel.
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  q. Due, at least in part, to repeated lengthy and non-responsive answers to counsel’s

     questioning, Mr. Kadlubek’s deposition session on April 16, 2021 ended with

     considerable areas of inquiry left to be discussed, including Mr. Kadlubek’s

     participation in the decision to force Plaintiff to sell Meow Wolf her intellectual

     property in her work, or remove it from HoER. In addition, many inquiries to Mr.

     DiIanni, and Mr. and Ms. Brinkerhoff regarding who would be best to speak to

     issues related to, among others, the transition of Meow Wolf from collective to

     corporation, the mechanisms by which persons acquired equity in Meow Wolf

     prior to the opening of HoER, and the use of Plaintiff’s work in the solicitation of

     investment after the opening of HoER, remain unanswered. During meet-and-

     confer communications, counsel for Mr. Kadlubek has indicated his deposition

     will not continue without a court order.

  r. Most importantly for the purposes of this motion, information obtained during the

     depositions of Meow Wolf employees and principles has allowed Plaintiff to

     locate multiple corroborating witnesses and additional documents in support of

     her claims, with additional witnesses and documents being identified on an

     ongoing basis. Also, Mr. Brinkerhoff provided key testimony on April 19, 2021

     that an investor document containing a derivative of Plaintiff’s work (D.E. 78,

     Exhibit E) is an example of a “pitch packet,” of which there are likely dozens, if

     not hundreds, of others created for different locations or “pitches.” He also

     confirmed that typically the general information included in pitch packets would

     remain consistent in many cases, with only specific information about location

     being changed. This testimony indicates Defendants are likely in possession of

     documents representing numerous violations of Plaintiff’s intellectual property
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     rights that they have yet to produce. Also revealed at Mr. Brinkerhoff’s

     deposition was that a friend of Mr. Kadlubek received an equity share of Meow

     Wolf in exchange for the provision of services related to HoER.

  s. Defendants’ counsel deposed Plaintiff Lauren Oliver for a full day on March 26,

     2021, spending more than 6 hours and 50 minutes on the record. After meeting

     and conferring, and Defendants’ counsel pointing to the complexity of the issues

     presented by Plaintiffs claims, the parties agreed to an additional deposition

     session of 5 hours, which was held on April 8, 2021. Ultimately plaintiff sat for

     another full day of deposition, spending more than 6 additional hours on the

     record before Ms. Oliver’s deposition concluded.

  t. On April 12, 2021, Plaintiff issued a 30(b)(6) deposition notice to Meow Wolf for

     a deposition to commence on April 28, 2021. On April 19, 2021, Meow Wolf

     sent a letter objecting to the notice and indicating it would not appear for

     deposition, but suggesting it would be open to a modified set of categories.

     Plaintiff’s counsel sent a letter on April 20, 2021 proposing a deposition on a

     subset of categories, after which Defendants’ counsel responded that Meow Wolf

     would not appear under any circumstances, and indicating it would file a motion

     for protective order if the notice was not withdrawn.

  u. On March 29, 2021, Plaintiff’s counsel asked Defendants’ counsel for deposition

     dates for Meow Wolf principal Matt King and percipient witness Maggie

     Thornton. Other witnesses have indicated Mr. King was involved in setting the

     level of plaintiff’s revenue share, and prior to this litigation, he had been a long-

     time friend of Plaintiff. Counsel for Defendants have yet to provide dates for

     either witness, stating that Mr. King is “unavailable.” After a final attempt to
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                informally schedule Mr. King’s deposition, Plaintiff served notice of his

                deposition on April 13, 2021, setting it for April 30, 2021. On April 19, 2021,

                counsel for Defendants indicated Mr. King remained “unavailable,” and if the

                notice was not withdrawn, they would file a notice of nonattendance.

         Given the sequence of events and exchanges outlined above, it has become clear

completing discovery prior to the April 30, 2021 deadline has become impossible, and that there

is good cause to extend the Rule 16(b) scheduling order deadlines for sixty (60) days.

Defendants’ counsel has indicated this motion will be opposed, and at time of writing, that

position has not changed, therefore Plaintiff assumes it remains their position. Plaintiff will

withdraw the motion if a stipulation to extend is reached by the parties and approved by the

Court.

         WHEREFORE, Plaintiff respectfully requests the Court enter an Order granting the

instant motion, along with such other relief it deems just and proper.



                                                      ERICKSEN ARBUTHNOT



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                                CERTIFICATE OF SERVICE
       I, Jesse A. Boyd, hereby certify that I caused a true and correct copy of the foregoing
Certificate of Service for MOTION TO EXTEND RULE 16(b) SCHEDULING ORDER
DEADLINES to be filed through the Court’s CM/ECF system which caused all parties and
counsel entitled to received notice to be served electronically as more fully described on the
Notice of Electronic Filing.

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                                                     Respectfully submitted,

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